Timothy Charles Holmseth
Plaintiff, US. District Court

vs.
Case No: 0:3:22-CV-00912
Levi Henry Page IV,
Alexandria Hannelore Goddard,
Kim Lowry Picazio, in her personal and
professional capacity,
Michael G. Kaplan, in his personal and
professional capacity,
Craig Randall Sawyer, in his personal capacity,
and as Principal of VETERANS FOR CHILD RESCUE SECOND AMENDED COMPLAINT
INC.,
Charles William Moore Jr.,
Robert Hamer,
VETERANS FOR CHILD RESCUE INC.,
UNITED STATES DEPARTMENT OF JUSTICE,
John Does 1-25
Defendants,

COMPLAINT FOR DAMAGES AND DEMAND FOR TRIAL BY JURY

Plaintiff, Timothy Charles Holmseth (“Plaintiff”), Pro Se, pursuant to Rule 3 of the Federal Rules of Civil
Procedure (the “Rules”), files the following Verified Complaint against defendants, Levi Henry Page IV
(“Page”), Alexandria Hannelore Goddard (“Goddard”), Kim Lowry Picazio (“Picazio”), Michael G. Kaplan
(“Kaplan”), Craig Randall Sawyer (“Sawyer”), VETERANS FOR CHILD RESCUE INC. (V4CR), Charles William
Moore Jr. (“Moore”), Robert Hamer (“Hamer”), UNITED STATES DEPARTMENT OF JUSTICE, and John
Does 1-25 (said named being fictitious and unknown persons), jointly and severally.

Plaintiff seeks (a) compensatory damages and statutory damages (threefold the actual damages

: sustained in the sum of $40,000,000.00 plus (b) prejudgment interest on the principal sum awarded by
the Jury, (c) post-judgement interest, and (d) court costs — arising out of the Defendants’ acts of
racketeering activity in violation of Title 18 U.S.C. 1962 (a-c) conspiracy to violate Title 18 U.S.C. 1962 (a-
c) common law conspiracy, and defamation.

I. INTRODUCTION

1. This case is about an investigative journalist, publisher, and War Correspondent named Timothy
Charles Holmseth (“Plaintiff”) who is the target of military Tier One Operations as part of the
‘Weaponization of the Federal Government’ in the United States of America, where a former
U.S. Navy SEAL and CIA contractor named Craig Randall Sawyer (“Sawyer”) along with retired
military brass including retired U.S. Navy Vice Admiral Charles William Moore (“Moore”) have
assembled an alliance with the present Chairman of the Joint Chiefs of Staff, U.S. Army General
Mark Milley, along with retired career intelligence expert U.S. Army General Michael Flynn, a

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gamut of federal agencies, private government contractors, elite special forces trained by the
U.S. Government, retired and active federal agents, that are all partnering with military units of
foreign powers, and the trafficking Cartel, to create and operate a domestic assassination
program and human trafficking operation which uses what they call VIPR teams created by an
organization called VETERANS FOR CHILD RESCUE INC (V4CR) that operates in interstate and
foreign commerce. SEE IMAGES BELOW

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RESCUE Ln

These are all the law enforcement units, intelligence agencies and
military units that are directly invoived in the pedophile raids who are
giving Sawyer eyewitness accounts on just how bad the revelations from
the investigations really are.

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Case 3:22-cv-00912 Document14 Filed 01/19/23 Page 2 of 58 PagelD #: 333
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BOARD OF ADVISORS

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for the Fl — HaLeigh Cummings
Kidnapping hnenstigation

BOB HAMER

These are ail the law enforcement units, inteliigence agentes and
miitary units trat ore directly involved In the pedophite raids wie are
giving Sawyer eyewitness accounts on just how bad the revelations fram
the investigations reaily are,

2. When Plaintiff began looking into the activities of V4CR in 2017, Plaintiff quickly realized there
was no records to support the existence of V4CR such as Certificates of Authority, Joint Powers
Agreements, or Resolutions from any government body or agency. Plaintiff observed V4CR was
acting in interstate and foreign commerce with the physical movement of minor children, but
had no oversight, and was simply a shadowy group of individuals that had no licensing, no
insurance, or any formal contracts that were giving V4CR any authority to touch, move, handle,
or transport children. Plaintiff was perplexed that Sawyer, who admitted during interviews that
he had been kicked out of the Federal Air Marshal Service and stripped of all of his military
medals and honors, was using the logos of the agencies he once worked under, and was
partnering with those very government agencies and military that denounced and rejected him.

3. In response to Plaintiff's reporting and publishing on human trafficking, crimes against
humanity, war crimes, and exposing V4CR’s public statement that Sawyer is utilizing his military
experience to “run covert tier one operations all over the country”, and knowing Plaintiff's
journalism is protected by the First Amendment of the United States Constitution and Article 1
of the Bill of Rights, Article 1, Section 19 of the Tennessee Constitution, the Defendants and
their associates targeted Plaintiff for over a decade, used Plaintiff in Psychological operations
against the best interest of the American people, and have subjected Plaintiff to threats of
kidnapping, torture, rape, and murder. ,

4. The Defendant’s operations began in 2009 when Plaintiff contacted the FBI and reported
suspicious activity of a convicted sex offender-pastor from Hastings, Florida named John Regan
who was conducting FBI searches for a missing child in Florida named HaLeigh Cummings. John

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Regan told searchers and many witnesses that he was an undercover FBI agent and CIA agent
working undercover as a pedophile. In 2020 Plaintiff came under full attack by V4CR and an FBI
agent named Bob Hamer, because Plaintiff pointed out that John Regan and Bob Hamer
appeared to be the same man. Bob Hamer is on the Board of Advisors of V4CR. Bob Hamer is
famous because he went undercover as a pedophile for the FBI to infiltrate the North America

Man Boy Love Association.

UNDERCOVER PEDOPHILE FOR THE FBI

Bob Hamer Undercover John Regan — Undercover Pedophile
Pedophile for the FBI ~ Board for the FBI — HaLeigh Cummings

of Advisors for Veterans For Kidnapping Investigation

Child Rescue

5. Plaintiff, attempting to combat the Tier One Operations against him, granted Power of Attorney
to Christopher Edward Hallett (“Hallett”), CEO, E~Clause LLC, Florida, in 2019. Hallett was a loss
prevention specialist and E~Clause was authorized by Congress to perform audits for the U.S.
Government. Hallett filed a lawful notice of process on behalf of Plaintiff to President Donald J.
Trump and U.S. Senator Lindsey Graham citing Emolument violations in legal cases brought
against Plaintiff. SEE IMAGES BELOW

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Chvistopher € Hallett

16062 SW 34 CT RD, Ocala, Fl, 34473, Ph (352)470-8460 eclauwlica@ gmail.com

August 18, 2019

LAWFUL NOTIFICATION OF PROCESS
CITING EMOLUMENTS VIOLATION (18 U.S.C. § 643)
Re: Timothy C Holmseth, Case Numbers,
60-CR-18-343, 60-CR-18-439
60-CR-18-441, 60-CR-18-2074

OFFICE OF THE PRESIDENT
THE WHITE HOUSE

1600 Pennsylvania Ave NW
Washington, DC 20500

Mr President,

Piease find, and refer appropriately, to the Department of Justice these case numbers as
Oversight against this obvious Sharia Law Sham Process is self evident.

Should the Department's current workload be prohibitive of this referral, also consider issuing a
Letter of Enforcement (MARQ) to permit this Office access to direct the U.S. Marshal’s Office
to execute the Law while making sure these traitors are brought to Justice under the Letter of the
Law pursuant to Article 4, Section 4, and Article 1, Section, 9, Clause 8 of The Constitution of
The United States of America.

My Acting Agent (Kirk L. Pendergrass) and 1, have already provided the attached Notice of
Process citing the absence of a Quorum (usurpation of Due Process) in response to the attached
correspondence from the East Grand Forks City Attomey’s Office.

Respectfully Submitted,

Quad per recordum probatum non debet esse negatum,
What is proved by the record ought not be denied

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Case 3:22-cv-00912 Document14 _ Filed 01/19/23 Page 5 of 58 PagelD #: 336
Christopher E Hallett == Ce Ateasio >

16062 SW 34 CT RD, Ocala, Fl, 34473, Ph (352)476-8460 eclauselic@’email.com

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Re: Timothy C Holmseth, Case Numbers,
60-CR-18-343, 60-CR-18-439
60-CR-18-441, 60-CR-18-2074

THE HONORABLE

Lindsey Graham

224 Dirksen Senate Office Building
Washington, D.C., 20310

Ph: (202) 224-5225

Dear Senator Graham,

Please find, and refer appropriately, to the Department of Justice these case numbers as
Oversight against this obvious Sharia Law Sham Process is self evident.

Should the Department’s current worklodd be prohibitive of this referral, also consider issuing a
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Quod per recordum probatum non debet esse negatum,
What is proved by the record ought not be denied

Hallett accepted a trove of evidence from Plaintiff regarding human trafficking and child
exploitation that was being committed by the corrupted judicial system. Hallett had expertly

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dissected and exposed how family courts and criminal courts in four separate States were
committing a scheme, scam, and fraud in the case of a mother named Neely Petrie Blanchard.
Hallett was also tracking international COVID 19 codes. On November 2, 2020, Hallett made a
filing into the U.S. Court in the Middle District of Florida. Hallett sent a copy of the federal court
receipt to his colleague Randi Lynn Erickson, Minnesota. On November 15, 2020, Hallett was
assassinated in his home. Plaintiff attempted to locate the U.S. Court files Hallett filed. The
ENTIRE FILING HAD VANISHED. Plaintiff subsequently filed a Complaint against Judge William
Terrell Hodges, the federal judge overseeing the Court where the file vanished. Plaintiff
provided extensive details to the U.S. Appeals Court about Hallett and Plaintiff's information and
evidence of international human trafficking. Shortly thereafter Hodges was dead.

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U.S. JUDGE DEAD! WAS UNDER
INVESTIGATION REGARDING FBI, U.S.
SPECIAL FORCES AND CARTEL CHILD
TRAFFICKING ON U.S. BORDER

@ December 22,2022 & owsbulder b> Pentagon Pecophile Task Force 90
JAN 45 9094
CONFIDENTIAL David J. Smith
Clerk

Before the Chief Judge of the
Eleventh Judicial Circuit

Judicial Complaint No, 11-21-90149
IN THE MATTER OF A COMPLAINT FILED BY:
TIMOTHY CHARLES HOLMSETH

In Re: The Complaint of Timothy Charles Holmseth against
United States District fudge Wm. Terrell Hodges of the United
States District Court for the Middle District of Florida, under the
Judicial Conduct and Disability Act of 1980, 28 U.S.C. §§ 351-364.

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by Pentagon Pedophile Task Force on December 22, 2022 - USA

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Filed 01/19/23

Document 14

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Case 3
6. Plaintiff realized and knows he is being subjected to a wide variety of tactics that are described
and explained in a published document entitled THE OFFICIAL CIA MANUAL OF TRICKERY AND
DECEPTION by H. Keith Melton and Robert Wallace.

7. Defendants’ acts or threats are chargeable as offenses under Tennessee law’ and punishable for
imprisonment for more than one year. Defendants acts (described below) are also indictable
under 18 U.S.C. 1512 (tampering with a witness) 18 U.S.C. 1513 (retaliating against a witness)
and 18 U.S.C. 1951 (extortion).

12010 Tennessee Code — Title 39 Criminal Offenses — Chapter 14 — Offense Against Property — Part 1 -
Theft 39-14-112 — Extortion (a) A person commits extortion who uses coercion upon another person
with the intent to: (1) Obtain property, services, any advantage or immunity; or (2) Restrict unlawfully
another's freedom of action. (c) Extortion is a Class D felony. 2010 Tennessee Code Title 39 - Criminal
Offenses 39-16-507 - Coercion of witness. 39-16-507. Coercion of witness. (a) A person commits an
offense who, by means of coercion, influences or attempts to influence a witness or prospective witness
in an official proceeding with intent to influence the witness to: (1) Testify falsely; (2) Withhold any
truthful testimony, truthful information, document or thing; or (3) Elude legal process summoning the
witness to testify or supply evidence, or to be absent from an official proceeding to which the witness
has been legally summoned. (b) A violation of this section is a Class D felony.

8. Defendants actions meet the evidentiary standard of 2010 Tennessee Code - Title 39 - Criminal
Offenses - Chapter 12 - General Offenses - Part 1 - Inchoate Offenses - 39-12-103 - Criminal
conspiracy.

39-12-103. Criminal conspiracy.

(a) The offense of conspiracy is committed if two (2) or more people, each having the culpable mental
state required for the offense that is the object of the conspiracy, and each acting for the purpose of
promoting or facilitating commission of an offense, agree that one (1) or more of them will engage in
conduct that constitutes the offense.

(b) If a person guilty of conspiracy, as defined in subsection (a), knows that another with whom the
person conspires to commit an offense has conspired with one (1) or more other people to commit the
same offense, the person is guilty of conspiring with the other person or persons, whether or not their
identity is known, to commit the offense.

(c) Ifa person conspires to commit a number of offenses, the person is guilty of only one (1) conspiracy,
so long as the multiple offenses are the object of the same agreement or continuous conspiratorial
relationship.

(d) No person may be convicted of conspiracy to commit an offense, unless an overt act in pursuance of
the conspiracy is alleged and proved to have been done by the person or by another with whom the
person conspired.

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9. The Defendants are persons associated in fact (a RICO enterprise) who engage in interstate
commerce by the use of one or more instrumentalities, including the internet, computers,
telephones, UPS, FED EX, and U.S. Mail. While associated with the enterprise, Defendants
conducted or participated, directly or indirectly, in the operation and management of the
enterprise’s affairs through a pattern of racketeering activity. Between 2009 and the present,
Defendants engaged in activity that is prohibited by Title 18 U.S.C. 1962(c) and 1962(d). The
common goal of Defendants and other persons associated with the enterprise is to extort
Plaintiff and prevent him from engaging in news reporting, publishing, telecommunications with
the United States Military, State law enforcement, Federal law enforcement, local governments,
witnesses, and to prevent Plaintiff from testifying in legal/lawful court proceedings, hindering
Plaintiff's freedom of movement and travel, publishing material on international human
trafficking in which Defendants were/are involved, interfere with Plaintiff's evidence gathering,
deprive Plaintiff of his property rights in materials pertaining to human trafficking, infringe upon
Plaintiff's rights as a journalist under the First Amendment, and infringe upon Plaintiff's right to
keep and bear arms under the Second Amendment.

10. Plaintiff was injured in his business, property, and reputation by Defendants’ racketeering
activity and tortious misconduct. Plaintiff brings this action (a) to recover money damages for
injuries caused by the Defendants’ racketeering activity and unlawful acts, (b) to impose
reasonable restrictions on Defendants’ future activities, including Defendants’ unlawful
attempts to jail Plaintiff because of his reporting and exercise of rights and privileges protected
by the First Amendment and Second Amendment, and (c) to enjoin Defendants from committing
further coercion and extortion and to prevent or restrain Defendants from violating Title 18
U.S.C. 1962 in the future, and (d) restore ALL of Plaintiff's rights that have been infringed upon.

Il. PARTIES

11. Plaintiff Timothy Charles Holmseth is a citizen of Minnesota. He has a college degree in the field
of Media Communications. He is an award-winning news reporter with first place awards from
the North Dakota Newspaper Association. He authored and published a book about the case of
the missing child HaLeigh Cummings. Plaintiff created the websites www.writeintoaction.com
and www.timothycharlesholmseth.com Plaintiffs primary social media account is
truthsocial.com/@THOLMSETH

12. Defendant Levi Henry Page IV is a mainstream media pundit, podcaster, and You Tuber from
Dover, Tennessee. Page has a college degree in the field of journalism. Page is associated with
mainstream media including CNN, HLN, and FOX NEWS (Nancy Grace). Note: In 2011 Page
published a Bio online stating he was a 34 year-old “criminal investigator” from Nashville,
Tennessee (however, a police investigation in Minnesota revealed he was only a 20 year-old
college student). Ernie Rice of Rice Investigations, Tennessee, determined Page is “Levi H. Page
IV”. Page’s main Twitter account is twitter.com/LeviPageTV

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Alexandria Hannelore Goddard is, upon information and belief, not an American citizen.
Goddard identifies herself as a “Social Media Analyst and Consultant” from Martins Ferry, Ohio.
Goddard identifies herself as an advocate against “rape culture”. Goddard is an unlicensed
investigator that works as an agent for attorneys and others. Goddard’s main account on Twitter
is @prinniedidit Goddard is associated with a long list of mainstream media organizations
including Netflix.

Defendant Kim Lowry Picazio is a Family Law attorney from Broward County, Florida. Picazio is
an attorney at Kim L. Picazio, PA. Her website is www.picaziolaw.com. Picazio works on Elections

under Joe Scott Supervisor of Elections, Broward County, Florida. Her main Twitter account is
@Kim_Picazio

Defendant Michael G. Kaplan is a Family Court judge in Broward County, Florida. Kaplan is
described as a “Member of the Judiciary” on the Florida BAR Association’s website.

Defendant Craig Randall Sawyer is a former Navy SEAL, former federal Air Marshal, Hollywood
film producer, and founder of VETERANS FOR CHILD RESCUE INC. Sawyer’s primary websites are
www.tacticalinsider.com and www.vets4childrescue.org

Defendant Charles William Moore Jr. is a retired Vice Admiral in the United States Navy. Moore
serves on the Board of Advisors of VETERANS FOR CHILD RESCUE INC. He was an interim
Superintendent of the United States Naval Academy in Annapolis, Maryland. Moore has served
on the Board of Directors for AKHAN Semiconductors.

Defendant Robert Hamer is a former JAG with United States Marine Corps and a former agent of
the Federal Bureau of Investigation (FBI). Hamer’s website is www.bobhamer.net

VETERANS FOR CHILD RESCUE INC. (V4CR) is a 501(c)(3) organization. V4CR was created by Craig
Randall Sawyer in April of 2017. The official website for V4CR is www.vets4childrescue.org The
address listed is 7320 N La Cholla Blvd., Suite 154-302 Tucson, AZ 85741

UNITED STATES DEPARTMENT OF JUSTICE, 950 Pennsylvania Ave NW, Washington, DC 20530

John Does 1-25 (said named being fictitious and unknown persons), jointly and severally.

Il. JURISDICTION AND VENUE

The United States District Court for the Middle District of Tennessee has subject matter
jurisdiction over this action pursuant to Title 28 U.S.C. 1331 (Federal Question) 1332 (Complete
Diversity) and 1367 (Supplemental Jurisdiction). This action arises under federal law. The parties
are citizens of different States and the amount in controversary exceeds the sum value of
$75,000, exclusive of interests and costs.

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23. Each Defendant is subject to personal jurisdiction in Tennessee’s long arm statute T.C.A. § 20-2-
214 (a) as well as the Due Process Clause of the United States Constitution. Defendants are
subject to specific personal jurisdiction. Defendants targeted Plaintiff and extorted him while
they were physically present in Tennessee. Defendants targeted Plaintiff's daughter who lives in
Tennessee. Defendants and their agents committed multiple acts of racketeering activity.
Defendants transact business in Tennessee and committed multiple acts in Tennessee that
caused injury in Tennessee. Defendants also committed multiple acts of extortion outside
Tennessee causing injury and property damage in Tennessee. The exercise of personal
jurisdiction over Defendants would not violate fairness and substantial justice.

24. Venue is proper in the United States District Court for the District of Tennessee pursuant to Title
18 U.S.C. 1965(a) and Title 28 U.S.C. 1391(b). Defendants reside, are found, have agents, and
transact affairs in Tennessee. A substantial part of the events or omissions giving rise to the
claims in this case occurred in Tennessee.

IV. FACTUAL ALLEGATIONS

VETERANS FOR CHILD RESCUE INC
25. In April of 2017 Craig Randall Sawyer (“Sawyer”) founded an organization called Veterans For
Child Rescue, Inc. (V4CR). Sawyer launched the website www.vets4childrescue.org and

promoted V4CR with graphics and images that depicted the activities of the organization. One
image featured a masked man in a military uniform, wearing gloves, with headphones on both
ears, an American flag patch on the uniform shoulder, along with the letters V4CR, carrying a
small female child away in the dead of night. Plaintiff screenshotted the image from Sawyer’s
Facebook page. SEE BELOW

Veterans For Child
Rescue

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26. Plaintiff is an investigative journalist, and in 2017, acting as a War Correspondent, Plaintiff began
to report and publish on the activities of Sawyer and V4CR on Plaintiff's website
www.timothycharlesholmseth.com Plaintiff inspected V4CR’s public mission statements and
observed VA4CR said, “Veteran Navy Seal DEVGRU sniper Craig “Sawman” Sawyer Founded V4CR
in April of 2017. Sawman has dedicated his life to raising awareness about the darkness infesting
our communities, rescuing victims, and putting predators behind bars, along with V4CR’s
veterans investigating pedophile rings (VIPR teams) Sawman uses his military experience to run
covert tier one operations all over the country: Working with the brave men and women in law
enforcement to keep our communities safe”. SEE IMAGE BELOW

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27. Plaintiff researched Tier One operations and observed DEVGRU SEAL TEAM 6 is used for
“counter terrorism” and “hostage rescue”. SEE IMAGE BELOW

14
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‘The 5 Tier 1 Units In The US Military

#1. DEVGRU: OEVGRU is also known as SEAL Taam 6. They are tha US Navy's elite SMU that specializes in

counter-terrorigm and hostage rescue,

#2. Delta Farce: Osita Force is a Combat Applications Group of the US Army. Tre main mission of the Delta Force

iS counter-terrorigm.

#3. 24th Special Tactics Squadron: The US Air Force's 24th Special Tactics 2quadron provides air support snd

contra! fer the other Tier 1 units.

#4. Intelligence Support Activity: Tha US Army intalligence Supoert Activity provides misscon essential

information for other JSOC unas.

#5. Army Ranger Regimental Recon Company: A part of the 75th Ranger Regimant Spacial Troops Battaton

provides spacial reconnaissance ta support ISOC missions.

#1. DEVGRU (aka SEAL Team 6)

28. Upon the launch of V4CR, Sawyer published a gamut of logos on the V4CR website and stated
the agencies and military units represented by the logos were working with V4CR and the VIPR
teams. SEE IMAGE BELOW

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RESCUE a

These are all the law enforcement units, intelligence agencies and
military units that are directly Involved in the pedophile raids who are
giving Sawyer eyewitness accounts on just how bad the revelations from
the investigations really are.

29. The following is an assessment of the agencies and units working with V4CR as represented by
the logos.

National Security Agency (NSA)

British Military

Central Intelligence Agency (CIA)

U.S. Department of State

Transportation Security Administration (TSA)

Federal Bureau of Investigation (FBI)

German anti-terrorist unit Border Police Group (GSG - Grenzschutzgruppe) 9
British Army Special Air Service

U.S. Army Rangers

Navy SEALS

1st Special Forces Operational Detachment—Delta

United States Army Special Forces

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2,100 KIDS ‘RESCUED’ BY NAVY SEALS AND U.S. MARINES FROM CAGES UNDERGROUND IN
CALIFORNIA

30. In April of 2019, Plaintiff was approached by David Lester Straight, Bend, Oregon. Straight told
Plaintiff he was a former Navy SEAL and U.S. Secret Service agent with classified clearance

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because he once protected “George Bush”. Straight said he served on three Presidential
Commissions under President Trump. The Commissions were Human Trafficking, Judicial
Corruption, and Space Force. Straight told Plaintiff he watched a video of U.S. Vice President
Michael Pence raping a child. In October of 2019 Straight told Randi Lynn Erickson, Elk River,
Minnesota that he assisted the U.S. Marines and U.S. Navy Seals with a rescue of 2,100 children
who were being held captive underground in cages in California. Plaintiff reported to the public
what Straight told Erickson. Plaintiff interviewed Straight and Straight confirmed the rescue and
said the children were taken to a military hospital. Straight said approximately 100 of the
children died. Straight said the children had been kidnapped and put into captivity by Child
Protective Services (CPS). Plaintiff monitored the situation for further news reporting as time
went on. Plaintiff continued to search for information about the welfare status of the 2,100 kids.

SEALS and Marines Rescue 2,100 Children
From California Underground Bunkers

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https ven youtube.com/watch?
wijédeature=youtu beadbclid=lwAROW?7 1 DCuWD4Sb 1x8QZrP¥mb2 /VLMinicm4-
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by Timothy Charles Holmseth on October 14, 2019 at 5:43 PM CST

31. In August of 2020 Plaintiff came under complete military style psychological operation attack by
VACR. V4CR members including retired Vice Admiral Charles William Moore, former FBI agent
Bob Hamer, Sawyer, and James Hill, began sending messages to Plaintiff. Some of the messages
were responses being made to stories Plaintiff published about children being rescued. Moore

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told Plaintiff he was friends with General Mark Milley, General Michael Flynn, and President
Trump, and told Plaintiff to stop the reporting. Plaintiff saw the correlation between the V4CR
VIPR teams and military brass’ anger in 2020 that Plaintiff was reporting about children being
rescued from where they were held captive underground, with what Straight told Plaintiff
earlier, in 2019, regarding Straight being a former Navy SEAL, and the 2,100 kids Straight said he
helped rescue with Seals and U.S. Marines ~ because Sawyer’s V4CR VIPR teams Tier One
operations do “hostage rescue”. Plaintiff's news reporting was exposing secrets and
unspeakable crimes against humanity.

32. In May, 2021, Plaintiff observed mainstream network news reported about the ‘2,100’ kids. On
May 7, 2021, CBS news reported “Over 2,100 children crossed border alone after being expelled
with families to Mexico”. The CBS story referred to 2,100 missing children and featured
Alejandro Mayorkas. CBS reported, “During a call with reporters on Sunday, Homeland Security
Secretary Alejandro Mayorkas acknowledged that his department has been tracking these
cases”.

PLAINTIFF’S NEWS REPORTING FORCES SAWYER TO PUBLICLY ADMIT THAT RESCUING KIDS IS
ACTUALLY KIDNAPPING IF THE PARENTS ARE NOT INVOLVED OR AWARE

33. On September 4, 2020, Craig Sawyer logged into Facebook and made a public statement
regarding the child rescuing activities of his organization called Veterans For Child Rescue Inc.
Sawyer admitted during the video statement that it is against the law to rescue children.
Sawyer said, “When we can get rescues, man, that’s great, we want to do as much of that as we
can. Just so everybody knows a rescue is actually a kidnapping unless you have the parents and
power of attorney there of the child. So if you don’t know who the parents are —- you move a
child man that’s kidnapping technically. Figure out where they are which means you could have
probably arrested all the predators first, and then you can rescue the children that are there. So,
its eh, you know I started out wanting to rescue a bunch of children in the United States but
that’s really a law enforcement function here so we’re arresting the predators we’ve got 22
arrests with warrants with one-hundred percent conviction rate”.

U.S. COURT BECOMES INSTRUMENTALITY FOR CRIMINAL EXTORTION AGAINST A
GOVERNMENT OFFICIAL WHO HAS STANDING WITH THE STATE OF MINNESOTA

34. In November, 2021, Plaintiff's escrow agent Randi Lynn Erickson (“Erickson”) Petitioned the
United States District Court in Minnesota and requested Injunctive Relief because Sawyer’s
DEVGRU trained VIPR teams told Plaintiff they were, in fact, suiting up, and coming to kill
Plaintiff and Erickson. Sawyer filed a counter-claim and accused Erickson of defaming him. In
response to Erickson’s attempt to seek help from the federal government regarding agents, and
agencies, and military, of the federal government, that were threatening to murder her, the
VIPR teams and Sawyer’s network of operatives intimidated and threatened Erickson and
Plaintiff and made sure Erickson would not appear in person for any hearing. The U.S. Court
declined to provide any Relief to Erickson whatsoever despite Erickson holding licenses that are
so unique they require an FBI background check, and a Commission with the State of Minnesota,

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and a trove of evidence showing the horrendous threats and extortion. The U.S. Court went on
to award Sawyer $500,000 in a Default judgement while Erickson and Plaintiff remain in hiding.

On January 12, 2023, U.S. Judge Eric C. Tostrud filed an Order in Erickson v. Sawyer — 0:21-CV-
02536-ECT-DJF. On Page 3, Tostrud said, “In 2017, Mr. Sawyer founded Veterans For Child
Rescue, Inc. (V4CR), an organization devoted to rescuing victims of child sexual abuse” .

Accepting what Tostrud stated in his Order, and public statements by Sawyer and V4CR saying
their organization is “rescuing children”, it is firmly established V4CR was created in 2017 to
transport minor children under the guise of the transportation being a “rescue”. It is further
established that Sawyer and V4CR knew for over three years they were committing kidnapping
and were human trafficking children before admitting on Facebook Live that rescuing children is
actually kidnapping. During this same time Sawyer, V4CR, and Defendants were publicly
defaming, libeling, and slandering Plaintiff as a “stalker” and “psycho” and “pedophile” for
reporting the truth about VACR.

Sawyer and V4CR, acting as agents of the federal government and U.S. Military, and military of
foreign powers, successfully executed a Tier One operation on American soil against a State
commissioned government official, Randi Lynn Erickson, whereby Sawyer and V4CR extorted
and terrorized Erickson and a news reporter, and used the United States District Court as an
instrumentality of Extortion in violation of the RICO act and Hobbs Act and other federal laws.

THREATS AGAINST PLAINTIFF AND ERICKSON BY V4CR VIPR TEAMS

in 2020 retired U.S. Navy Vice Admiral Charles William Moore (“Moore”), Board of Advisors,
VACR, contacted Plaintiff using his V4CR email account, and told Plaintiff to stop writing about
VACR. Moore told Plaintiff he was friends with General Mark Milley, General Michael Flynn, and
President Trump.

Plaintiff experienced great fear and anxiety and felt intimidated by Moore’s communication,
because General Milley is the Chairman of the Joint Chiefs of Staff, and General Michael Flynn is
a career intelligence officer. Moore was clearly using the names of Milley and Flynn to advance
an extortion plot underway against Plaintiff. Plaintiff received 20 messages from V4CR VIPR
team members. Plaintiff received messages that taunted Plaintiff about VIPR teams heading
toward Indian Mound, Tennessee where Plaintiff's daughter once resided. James Hill told
Plaintiff they were going to abduct Plaintiff's daughter and take her to Fort Campbell military
base and have a dog rape her while they filmed it. Sawyer told Plaintiff he was working with
“Kim P” which is Kim Lowry Picazio. Sawyer said they received information from Picazio and may
kidnap Plaintiff and transport him to Florida. Sawyer taunted Plaintiff that the police could not
help Plaintiff. Hamer told Plaintiff that Sawyer was going to abduct Plaintiff and take him
somewhere against his will. Sawyer warned Plaintiff he was going to kill him and place him at
the bottom of a lake. The following messages enveloped Moore’s ominous message to Plaintiff.

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.THE KIDNAP, TORTURE, RAPE, AND MURDER THREATS AGAINST TIMOTHY CHARLES
HOLMSETH AND RANDI LYNN ERICKSON

On August 3, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Timmy, My team is coming to get you in the
next two weeks. We will use all force necessary to get you. We are coming for you”.

On August 4, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Timmy, You are going to end up in a very deep
hole shortly. Randi will be right there next to you as well. You better start taking turns

sleeping because we are coming”.

On August 4, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Say good by to Melina. We added her to a list”.

On August 5, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “When my team catches up, someone will be in
a very bad place. You know what happens to people when they go off the deep end. As a seal
we get water training and can swim good. We learn to put things in very deep places where
they will never be found”.

On August 5, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “I put your kid on a list The police can not help

you. You know what will happen soon”.

On August 5, 2020, VICE ADMIRAL CHARLES W. MOORE logged into an account
charles@vets4childrescue.org and transmitted the following message to Plaintiff. “This is Vice
Admiral Moore. | am a personal friend of the President, General Milly and General Flynn. Your
fake reporting on our organization must stop now”.

On August 6, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “The VIPR teams are getting suited up Timmy.
They are already moving towards Tennessee. Indian Mound is near Fort Campbell. We will
make sure things end up in the military impact zone on post in no mans land. Nobody ever
looks there Timmy because of all the unexploded artillery shells are laying around. Maybe we
can put our target directly under an artillery target. Will be blasted to pieces. Incoming..”

On August 6, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “For you..... did you know what happens when
things are placed far under water in a nice cool Minnesota lake??? Things do not float when

we put them down. We preserved items that stay below 40 degrees become fish food. No one

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ever scuba dives in those cold lakes. VIPR teams have seals on them. Can you hold your
breath?”

|. On August 7, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Kim P. gave us all the information on you
Timmy. She has a present waiting for you in Florida. Maybe we will bring you down there
instead of going for a swim”.

J. On August 7, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “How does it fell Timmy? You can not go to the
police for help. Your little group of people you hang out with can not help you. You messed

with the wrong person Timmy. We are coming”.

K. On August 7, 2020, Bob Hamer logged into an account bob@vets4childrescue.org and
transmitted the following message to Plaintiff. “Timothy, how dare you make these foul
accusations at our great organizations. | have been briefed on you and | am very upset at your

foul lies. Craig is going to pick you up and bring you here for a nice face to face chat”.

L. On August 7, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Timmy, | have been given full permission to

come pick you up for a meeting. We know where you are. Do you have any special requests.
Would you like anyone from your taskforce to join you? We know who the members of the
Task Force are. Field McConnell and his friends will not help you because they are aware of
what you did to field”.

M. On August 17, 2020, James Hill logged into an account jameshill@vets4childrescue.org and
transmitted the following message to Plaintiff. “Timothy, we will get a dog and picture your girl
doing the nasty when we arrive at the artillery section at Fort Campbell. We are coming”.

N. On August 27, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “our investigations focus solely on the criminal
activity of individuals” This will apply to you Timothy Charles Holmseth.... You can hide from

us but we have time on our side. Just wait till we catch up...”

O. On September 2, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Nobody cares about your year old article
Timothy. You know what is going to happen once things catch up to you”.

P. On September 2, 2020, Sawyer logged into his account at craig@vets4childrescue.org and

transmitted the following message to Plaintiffs escrow agent Randi Lynn Erickson. “Just wait till
it all catches up to you Randi Q. You are not going free yourself. Your time will soon be
coming. Real soon.”.

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40.

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On September 2, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “Your articles are not going to help you. Randi Q
is on da list.....”.

On September 4, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “1 bet your ass will be ripping soon”.

On September 14, 2020, Sawyer logged into his account at craig @vets4childrescue.org and
transmitted the following message to Plaintiff. “I am collecting the $5000. Your time is up now
Timothy. Going to be fun. We hired someone to take video”.

On September 18, 2020, Sawyer logged into his account at craig@vets4childrescue.org and
transmitted the following message to Plaintiff. “You are hiding out. No more articles on me. My
team is going to collect that reward on you. Your time is up little pedo man”.

ERICKSON V. SAWYER — U.S. COURT

In 2021, Randi Lynn Erickson petitioned the U.S. Court in Minnesota (0:21-CV-02536) for
Injunctive Relief against Sawyer, former FBI agent Bob Hamer (“Hamer”), and an attorney from
Florida named Kim Lowry Picazio, Kim L. Picazio P.A. (“Picazio”). Sawyer, Hamer, and Picazio
were utilizing the V4CR VIPR teams to warn Erickson and Plaintiff, in writing, of their imminent
kidnap, torture, rape, and murder. Erickson had fled her home in Elk River, Minnesota and was
hiding, but finally petitioned the U.S. Court for Relief after receiving threats of poisoning,
followed by her husband Brian Edwin Erickson being diagnosed with an extremely rare form of
blood cancer. Sawyer, Hamer, and Picazio conspired to simultaneously file for Restraining
Orders in the Minnesota State Court against Erickson and Plaintiff. The objective of Sawyer,
Hamer, and Picazio was to lure Plaintiff and/or Erickson out of hiding by requiring they physically
appear at a courthouse in Minnesota. Neither Plaintiff nor Erickson were stupid enough to travel
to a specific location arranged for by the VIPR team domestic assassination program that was
threatening to kidnap, torture, and murder them.

Notably, Erickson did not seek monetary relief, and she did not attempt to practice law, which
she is barred from doing under the State Statute governing her State Commission. Erickson
simply sought help from the U.S. Court to stop a murder plot being executed by operatives of
the U.S. Government.

In response to Erickson’s Injunction, Sawyer retained Droel Law Firm and formulated a plan to
obtain copies of sealed affidavits that were authored and sworn to by Jessie Marie Czebotar
which detailed Czebotar’s eye-witness accounts of rape, torture, murder, and cannibalism by
Presidents and world leaders.

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43. Droel stated in a public court document, “...and other high-profile individuals, such as Ronald
Reagan, Bill Clinton, Joe Biden, Newt Gingrich, Dick Cheney, Dan Quayle, Mike Pence, John
Kerry, Muammar Gaddafi, Amy Coney Barrett, and Elon Musk to name a few, as being involved
in some Satanic cult that tortures, rapes, murders, and eats children.”

44, After leaking the names, Droel Law and Sawyer filed a counter-claim against Erickson accusing
Erickson of libel and defamation for publishing the names, which she had not done. Droel and
Sawyer did it. Erickson never published anything regarding the Presidents, world leaders and
cannibalism.

45. Sawyer then used the VIPR teams and threats of murder to make sure Erickson and Plaintiff
would not appear at the federal courthouse for a hearing.

ERICKSON RETAINS ATTORNEY STEVEN S. BISS TO FILE A RICO CLAIM AGAINST SAWYER

46. In October, 2020, Erickson retained Attorney Steven S. Biss for $10,000.00 for a lawsuit
regarding Tortious interference and other matters of organized harassment against her Family’s
business. In 2021, Sawyer, Hamer, Picazio, and Ashley Cooper, conspired to simultaneously file
Restraining Orders against Erickson and/or Plaintiff in Minnesota State District Court. By April,
2022, Biss had yet to file anything on behalf of Erickson. In April, 2022, Biss told Erickson she
should expand her case into a civil RICO action against Sawyer, Picazio, Hamer, Goddard, Page,
Ashley Cooper, and others for “Extortion”. Biss told Erickson that Plaintiff should join Erickson’s
suit because the predicate act of extortion against Plaintiff had been easily met. Erickson paid
Biss another $20,000.00 and proceeded with the RICO. Erickson repeatedly addressed the
existing federal case Erickson v. Sawyer - 0:21-CV-02536 — Minnesota with Biss. Biss told
Erickson ‘don’t worry about it’. Biss said the RICO case he was filing would pre-empt and absorb
Sawyer’s actions in that ongoing case. When Erickson received documents from Sawyer’s
attorney Brendan Tupa regarding Erickson v. Sawyer, Erickson referred Attorney Tupa to
Attorney Biss.

ATTORNEY BISS TELLS ERICKSON TO TELL PLAINTIFF TO STOP WRITING ABOUT MICHAEL FLYNN

47. On October 19, 2022, Biss told Erickson to advise Plaintiff to stop writing about “Michael Flynn”
because, Biss said, Michael Flynn and his family are Biss’ clients. Erickson had already asked Biss,
upon retaining him, if there was any conflict of interest regarding Flynn. Biss told Erickson there
was no conflict.

48. The issue of Biss representing Michael Flynn and the Flynn family was/is highly problematic
because retired Admiral Charles William Moore had used a V4CR account to contact Plaintiff and
tell Plaintiff to cease his reporting. Moore cited his close relationship with General Flynn in the
message to emphasize his power and position.

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49. Erickson continued to try to contact Biss regarding the Erickson v. Sawyer case. Biss ghosted
Erickson out. At the proverbial last second, he finally responded and told Erickson she had to
handle it herself. As of the date of this filing Biss has not filed anything for Erickson.

PLAINTIFF CONTACTS DONALD TRUMP REGARDING STRANGE ACTIVITY BY ATTORNEY BISS
REGARDING MICHAEL FLYNN AND TOP SECRET DOCUMENTS OF NATIONAL SECURITY

50. On October 20, 2022, Plaintiff contacted Donald J. Trump via his attorney Lindsey Halligan.
Plaintiff expressed concerns relating to the relationships between Attorney Biss, Michael Flynn,
and Devin Nunes. Plaintiff advised Trump that Biss had obtained a myriad of documents from
Erickson that contained highly sensitive information regarding TOP SECRET military programs,
child torture, and cannibalism. Plaintiff advised Trump he (Plaintiff) was concerned because
Flynn’s name was in some of the affidavits that described war crimes. Plaintiff advised Trump
that Biss had told Erickson to tell Plaintiff to stop writing about Michael Flynn. Plaintiff advised
Trump he believed it was a matter of “National Security”.

CRAIG SAWYER ADMITS HE’S ASSISTING LAW ENFORCEMENT AND THE CARTEL TRAFFIC
CHILDREN ACROSS THE U.S. BORDER

51. During Plaintiffs reporting as a War Correspondent, Plaintiff monitored Sawyer’s social media
accounts. Plaintiff observed Sawyer admit he was working with “law enforcement” to allow the
Cartels to move kids across the U.S. Border. Sawyer was asked by a user on GAB @MILL, “Have
you or other law enforcement ever allowed the cartel to hand off the kids on the US side and
track where they drop off the kids?”. Sawyer logged into his GAB account
@CraigSawmanSawyer and replied, “Yep. More to come on that”. SEE IMAGE BELOW

oo

(yee) MJLL @MULL 1 Tike » 9h

2 SawmanSawyer Have you or other law
enforcement ever allowed the cartel to hand off the kids
on the US side and track where they drop off the kids?

Like Reply Repost

Craig Sawyer © @CraigSawmanSawyer # - 8h

(MILL Yep. More to come on that.

Like Reply Repost

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FBI BOB HAMER IS AN AGENT OF THE CHINESE GOVERNMENT ‘

52. Plaintiff was threatened with kidnap by V4CR VIPR team member and former FBI agent Bob
Hamer. Hamer stated in an interview published by Sawyer that the FBI possesses a “passport”
that was created for Hamer by the “Chinese”. Hamer told Sawyer in a published interview that
he is a former United States Marine Corps JAG attorney who left the Marines to be an
undercover pedophile for the FBI.

53. Hamer has been featured on FOX NEWS’ show Hannity, as well as Oprah, and other programs.
Hamer is famous because he is reported to have infiltrated the North America Man Love Boy
Association (NAMBLA).

ATTORNEY KIM LOWRY PICAZIO, CRAIG SAWYER, ALEXANDRIA GODDARD, LEVI PAGE, AND
V4CR CONDUCT PSYCHOLOGICAL OPERATIONS AGAINST THE AMERICAN PEOPLE

54. Attorney Kim Lowry Picazio (“Picazio”) acts as an operative, media agent, and liaison for the U.S.
Department of Justice, U.S. Attorney’s Office, and FBI.

55. Picazio is an operating associate of Sawyer. Sawyer is also an operative of the FBI per the logos
he published.

56. Sawyer was a contract agent for the CIA and used the CIA and FBI logos in his advertising and
mission statement material that announced who his VIPR teams were working with.

57. On August 7, 2018, Picazio communicated via Twitter with Sawyer and discussed their mutual
target, which is Plaintiff. Picazio told Sawyer that Plaintiff was “under investigation” by the
“FBI”. “They actually called me and came to my office to obtain copies of my files on him,”
Picazio said. SEE IMAGE BELOW

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file Edit View Favorites Tools Help » @

@ Home } tMoments kim_picazio OQ Have se acco? Log free

Kim L. Picazio @kirv

Reohang to ©

He claims to be an FBI informant? Nope. He's under criminal investigation by
them. They actually called me and came to my office to obtain copies of my files
on him. | support law enforcement, the justice system, and the rule of lav.

2 wh O 2

Kim L. Picazie @Kirs Picazio 22h v

Renhying fo Ginter

Sure. Send me an email address. Or feel free to call me. My office number is
online. | even have a court transcript which directly refutes his claims about
successful court action. | have direct proof from his so called sources. He’s got 3
criminal cases, 5 charges pending now.

oO mo oD

Kim L. Picazio @34ire_Picazio 22h Vv

Realying to %

He's got 3 pending criminal cases pending against him right now in MN. He's
spent time in prison. Has lengthy criminal record.

58. At the time Picazio and Sawyer were communicating about Plaintiff in 2018, Picazio was actively
partnering in the private with the City of East Grand Forks, Minnesota, and the State of
Minnesota, to prosecute Plaintiff for talking about Picazio online. Picazio and the State of
Minnesota were doing an illegal end-run around the federal courts, and ignoring Minnesota
State Statutes, in order to privately arrest and prosecute Plaintiff for violating an Injunction For
Protection Against Repeat Violence that Picazio obtained against Plaintiff ina Broward County
Family Court in 2011. SEE IMAGE BELOW

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SVENTEENTH JUDICIAL CIRCUIT,
B _ COUNTY, FLORIDA

Respondent,

FINAL JUDGMENT OF INJUNCTION FOR PROTECTION AGAINST
REPEAT VIOLENCE (AFTER NOTICE) _

‘Tbe Petition for Injunction for Protection Against Repeal Violence under section 784.046,
Florida Statutes, and other papers filed in this Court have been reviewed. The Court has futisdiction |
of the parties and the subject miatier. The term “Petitioner” as used in this injunction includes the
person on whose behalf this injunction is entered,

__Itisintended that this protection order meet the requirements of 18 U,S.C, § 2265 and
_ therefore intended that it he accorded full faith and credit by the court of another state or
Indian tribe and enforced as if t were the urder of the enforcing state or of the Indian tribe.

SECTIONL HEARING

‘This cause came before the Court for 4 hearing to determine whether an Injunction for
Protection Against Repeat Violence in this case shouldbe ( )issued( ) modified( 3}
extended, : :

‘The hearing was attended by () Petitioner (__) Respondent

( ) Petitioner's Counsel = (_) Respondent's Counsel

SECTION, FINDINGS

On {date} _ a notice of this hearing was served on Respondent together
witha copy of Petitioner's petition to this Court and the ternporary injunction, ifissued. Service was
within the time required by Florida law, and Respondent was afforded an opportunity to be heard.

Affe bearing the testimony of each panty present and of any wibiesses, of upon consent of
Respondent, the Court finds, based on the specific facts of this case, that Petitioner is a victin of
fepeat violence.

Sei soe Cen Are dj Faraily Law Form 12980()), Fine! Eadpment of Injunction fer Protection Ayainal Repeat Vickace (ABS
ex) (OVD)

27
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| or tne following other places a Tequested by
Petitioner) whee Petitioner or Petitioner's minor a go offen! _

[Initial if applies; write N/A ff not applicable]
b. Respondent may not knowingly come within 100 feet of Petitioner's Sitomobile e at any
os. Other provisions reganding conlack _

3. Firearms.
_ [{nitial all that apply:
a. Resp ndent shall nol use oF pode css a firearm oF ammunition.
b. Respondent shall su any firearms and ammunition # in the ee
| possessiontothe —__
©. Other directives rel

requiring personal service) shall be "eral to Respondent's 5 (ast known address,
Such service by mail shall be complete upon mailing. Rule 1 080, Fla. Fam. LRP., pection
784.046, Florida Statutes,

Additional order(s) necessary to protect Petitioner from repeat violence,

SECTIONIV. OTHER SPECIAL PROVISIONS
(This section to be used for inclusion of local provisions approved by the clilef Judge as provided
in Florida Family Law Rule 12.610.)

Approved Punily Lau Fora UL O80), Fecal Judgment of Ieumction fae Protectica Agron! Repeat Viokrace (Afi

28
Case 3:22-cv-00912 Document14 _ Filed 01/19/23 Page 28 of 58 PagelD #: 359
JUDICIAL CIRCUIT, IN AND FOR BROWARD
COUNTY, FLORIDA

Bey -
CASE NO.: i poe

e

fra as! ae ge et NOY LG tl

THIS CAUSE was considered by the Court on the following Metion(s]

Sy 2 ceils

apolicable law, itis FOUND,

ORDERED AND ADJUDGED as follows:

gp

. DONE AND ORDERED |:

CIRCUIT COURT JUDG

By

Copies furnished: In Open Court
By Mail

BC 118 (Rev 207)

59. In 2011, Picazio attempted to have Plaintiff arrested and charged by the State of Florida, but the
Broward County States Attorney flatly rejected the request and issued a MEMO that declared
the Order could not and would not be prosecuted because Plaintiff and Picazio did not have a
domestic relationship as required by Florida law. SEE IMAGE BELOW

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MICHAEL J. SATZ
STATE ATTORNEY
SEVESTEENTH JUDQIAL CIRCUIT OF FLORIDA
BROWARD COUNTY COURTHOUSE
281 SE STH STREET
FORT LAUTERDALE, FLORIDA 33) 32a
PHONE: (934) 831-0890

MEMORANDUM

To: Broward County Clerk of Court
Domestic Vintence Division

From: Mare Wolf, Esq

Date: Monday, September 19. 2041

Re: KIM PICAZIOy TIMOTHY HOLMSETH ~
Case # DVCE 11-5919

Violation Date: September 12 6 19, 2014

My sanw is MARIE E. WOLF. 1 am the Assistant State Attorney assigned to make a
dec:sion whether to file criminal charges against Respondent for a violavon of injunction for
Protection Against REPEAT ? SEXUAL ? DATING Violence, based en an Affidavit of Violation
completed by the Peloner on September 14, 2044. This injunction was entered pursuant to
Fla, Stat. 784.046 and nof the Domestic Violence Statute 74130. The Affidavit was incorrectly
submitted to the Domestic Violence Unit of the Office of the State Attorney as the parlles do not
manlain a domestic relationship ag defined in Fla Stat 741.282}. As such, the Affidavit was
ferwarded to the Miedemeanor Trial Unit

Note too Fila Stat 784.047, which govems violations of injunction of this type, does not
require the Affidavits of Violation of Repea/Dating/Sexual Violence Injunctions to be forwarded
fo the Office of the State Attorney for review of possible criminal charges. if forwarded for
Teview, however, our office is not required to send an sear RET ABER of the fling
decision. If a mema is nanethetess desired. please contact Cent Re f
Trial Unit at ext 8475 5

Gs Court Fle
Valetie Hoflman, Senor Program Speciaist DVU
HONORABLE JUDGE MICHAEL KAPLAN

60. The Florida Order was a hoax perpetuated by Picazio and Attorney David Di Pietro (“Di Pietro”),
along with Picazio’s longtime colleague Michael G. Kaplan (“Kaplan”).

61. Because the State of Florida categorically stated no domestic relationship between Picazio and
Plaintiff existed, and Picazio attempted to use the Family Court Order to arrest Plaintiff, it can
only be construed that Picazio and her network of associates were attempting to human traffic
Plaintiff under Color of Law.

62. Sawyer and Picazio continued to communicate and plan to extort Plaintiff and violate his
Constitutional rights. Sawyer and Picazio used the spectacle they created about Plaintiff and the
manufactured ‘crimes’ and ‘court hearings’ as a tool in a psychological operation and
disinformation campaign against the interests of the American public.

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TIER ONE OPERATIONS ON AMERICAN SOIL AGAINST PLAINTIFF

63. As part of the Tier One Operation, Sawyer and Picazio worked in tandem with Levi Henry Page IV
(“Page”) and Alexandria Hannelore Goddard (“Goddard”) to saturate the Web and social media
with false allegations about Plaintiff. Page runs a media operation from his home in Dover,
Tennessee. Page and Goddard hosted a You Tube show called Crime and Scandal where they
described Plaintiff as a psychopath and pedophile. Page and Goddard used many forms of social
media to slander, defame, and libel Plaintiff. Goddard posted false information on Twitter and
declared to the public that Plaintiff and his escrow agent Randi Lynn Erickson (“Erickson”) are
domestic terrorists. The Defendants weaved and endless stream of messages pushing a theme
that Plaintiff and Erickson are domestic terrorists.

Promoted Tweet

Levi Page @LeviPageTV : 18h 000
A supporter for pedophile Timothy Holmseth is calling for violence and
death on innocent people, @TwitterSupport why is this allowed?

@ Roy Heim @RoyHeim1 - 13 Dec
Replying to @FREEDPeacock10

Him AND Kim Picazio both in adjacent cells being “tortured” 24 hrs. a day
by Field McConnell / Timothy Holmseth Holograms relentlessly
“channeling” Ricky Gervais as they await their continually delayed
executions would sure be nice !! ... "Let's see what happens”... ©

O14 tT 2 OQ 3 hy

31
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= ** Twisted Tea is my thang @prinniedidit 7m 000
youtu. be/U3GEIGYg 1 RO

Timothy Charles Holmseth and Randy Lyn Erickson are DOMESTIC
TERRORISTS whose dangerous hate speech has radicalized and caused right
wing extremists to engage in feony activity.

FHOLMSETHGATE #PPTF FDOMESTICTERRORISTS #RIGHTWINGNUTOBS

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£
“eS

@ Task Force @TaskFor26668668 - 23m
Replying to @MusicQanon @prinniedidit and 8 others

LMFAO.. do you think the military is going to hand over this country to
that traitor. #UKRAINE.. #PICAZIOGATE .. bigger than most can
imagine.. LMFAO

0 th OQ a

‘© ** Twisted Tea is my thang @prinniedidit - 28m ove
y Replying to @PostsCommand and @TaskFor26668668
youtu.be/USGElaYq1 RQ

Timothy Charles Holmseth radicalized the Nashville bomber.

TimmyTerrorTime
& youtube.com

ty OQ a

32
Case 3:22-cv-00912 Document14 _ Filed 01/19/23 Page 32 of 58 PagelD #: 363
‘© °° Twisted Tea is my thang @prinniedidit . 1h “
Replying tc to @TaskFor26668668 @MusicQanon and 7 others

Timothy Charles Holiseth and Randi Lyn Erickson are domestic terrorists
who have radicalized unwell individuals who have committed numerous
felonies and are likely. connected to the #nashviliebombing via their
extremist teachings

TimmyTerrorTime
& youtube.com

O14 tl © 2 A,

64. On May 9, 2020, Page logged into a chat room discussion during a You Tube Live by William
Kevin Murtaugh (“Murtaugh”), From The Desk of Murtwitnessonelive, and stated his objective
was to force Plaintiff to remove all of his websites.

firemanjohn628 Everybody social distances from
Timmy due to the smell <> <> 3

Rebecca Anne 1965 lol =

Levi Page I will never stop until he deletes all of
his websites and issues a retraction.

65. Murtaugh is an operative and agent of the FBI and immediate associate of Picazio, Page, and
Goddard. Murtaugh emphasizes his agency with the FBI and CIA by wearing logos of those
agencies on his person during his news reporting. SEE IMAGE COLLAGE BELOW

33
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66. As part of the Tier One Operation by V4CR the Defendants created and published
WANTED/REWARD posters featuring Plaintiff, and Plaintiff's escrow agent Randi Lynn Erickson.
Defendants spread the posters all over the world. SEE IMAGES BELOW

34
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2 RY Tae See i BOWE Re Sep Ga Calis 8 es BT Be oF RW Ba ee Se an Te es

* Pinned Tweet

a MURTWITNESSONE @MURTWITNESSONE + 1h v

$3,000 REWARD

FOR INFORMATION LEADING TO THE ARREST OF
TIMOTHY CHARLES HOLMSETH

© tl 4 4

67. Sawyer published the WANTED/REWARD poster on the website for his company Tactical Insider
www.tacticalinsider.com, which can be found using active links on www.vets4childrescue.org.

35
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Aho Bot a

PERU a LU

UU Gun eon Bence ere Som Gui eens coe a (tuetail

YAU ea LUE

POMC Reon MDE e cutee wate erase Me SED eagle oct)

DOR: 6/17/1968

Fa Booking #: 1800390

$5,006 REWARD

Wanted in Polk Co, MN
Broward Co, FL for violating
restraining orders.

KIM PICAZIO PLANS TIER ONE OPERATIONS WITH THE DOJ, FBI, AND U.S. ATTORNEY

68. On August 20, 2019, Picazio traveled to Washington DC to meet with the Office of United States
Attorney under AG General William Barr, a U.S. Attorney, and the FBI, to report Holmseth is part
of a “group” of “conspiracy theorists” “who pose a danger to the justice system and our
country”. SEE IMAGE BELOW

36
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Kim Picazio @Kim_Picazio - Aug 21 vv
Great meeting today on the issue of fringe
domestic terrorist groups living amongst us.
Things are in the works to crack down on
conspiracy theorists who pose a danger to
the justice system and our country.

3 tl 2 O 9 iM
Kim Picazio @Kim_Picazio - Aug 20 wv

Beautiful sunset overlooking the Potomac at
the Watergate Hotel in DC.

69. After Picazio met with the federal agents in August of 2019, she acted as a media agent of the
Federal Bureau of Investigation (FBI) and U.S. Attorney’s Office when she went on Twitter and
declared Plaintiff, and Plaintiff’s law counselor Kirk L. Pendergrass, were domestic terrorists.

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70. Picazio, Goddard, Page, and others were strategically declaring Plaintiff, Erickson, and
Pendergrass are “domestic terrorists” because V4CR is running Tier One Operations that utilizes

DEVGRU and SEAL TEAM 6 for “counter terrorism”.

71. In the image below you will see on August 28, 2019, Picazio announce Plaintiff's Power of .
Attorney and lawful counselor Kirk Pendergrass is a “domestic terrorist”. “He’s a danger to our
justice system,’ Picazio said.

Kuk Pendergrass 6 a soveregn clizen instructor. He's a domestec terrorist
according to the FAL FACT. He miemterpret and bastarcires our U5 Constitution
lee 10 one I've ever seen. He's a danger to our our justice system and the rule
of taw. Stay fer aeray trom him.

72. In the image below you will see on August 28, 2019, Picazio said she talked about Plaintiff during
meetings in DC with the FBI, U.S. Attorneys, and others.

Kirn Picazio © Aes ‘9 ’
He is not being protected by any task torce. This 6 a fe. | have confirmed tha in
meeings in DC, with the FSI, the US Atiny effice, and others. He has active
werants in 2 states. He needs to turn furmedt in, [ke a man, and have bis day in
cout.

73. Picazio was targeting Plaintiff because in 2009, Plaintiff reported suspicious activity involving
Picazio to the FBI. Plaintiff told the FBI during interviews in 2010 that Picazio’s law office staff
and searchers said Picazio was working with a sex-offender pastor named John Regan who told
searchers for a missing child named HaLeigh Cummings that he was an undercover pedophile for
the FBI and CIA. Picazio’s staffer Wayanne Kruger said Picazio and her husband Michael James
Picazio ran an international child trafficking operation through the Ukraine Embassy in
Washington DC with John Regan.

38
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UNDERCOVER PEDOPHILE FOR THE FBI

Bob Hamer ~Undercover John Regan — Undercover Pedophile

for the FBI — HaLeigh Cummings
Kidnapping Investigation

Pedophile for the FBI~ Board
of Advisors for Veterans For
Child Rescue

74. While Picazio announced she met with federal agents at a meeting in DC on August 21, 2019,
she was a witness in multiple Misdemeanor cases filed by the State of Minnesota against
Plaintiff, and was scheduled to testify at a Jury Trial in Polk County, Minnesota against Plaintiff
on August 26, 2019. Plaintiff was charged with violating Minnesota State Statute 609;748
Harassment; Restraining Order, as well as Contempt of Court.

75. Plaintiff did not appear for the hearing, and subsequent Jury Trial, both scheduled on August 26,
2019 in Polk County, Minnesota. The State of Minnesota then issued a bench warrant for
Plaintiff. SEE IMAGE BELOW

39
Case 3:22-cv-00912 Document14_ Filed 01/19/23 Page 39 of 58 PagelD #: 370
Veriga Kennedy Retweeted

Levi Page @LeviPagelV - Jul 29 vee
ATIN © » The man behind this campaign: ¢
/TIMOTHY 5... Timothy Holmseth, is a WANTED fugitive « on the run.
He harasses and stalks people. There is an active warrant for his arrest in
MN for contempt of court & harassment. He's raising funds to evade law
enforcement

Le

Filed in District Cour

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State of Miuiesot Count File Nembe.

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Harasement Restacing Order » Vote aed rows of
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laint fled with this court establishes probable cause that the delendant commit

2019, the defendant failed to obey the order/summons of the court to appear &

dant has failed to'comply with conditions of.

vacates and annuls the STAY OF EXECUTIONAMPOSITION OF SENTEM
Minnesota only,

QO 2 Tt) 14 O 21 iS

76. On August 28, 2019, Picazio logged into Twitter and began to provide details about her meetings
in DC with federal agents. Picazio said she had spoken to the FBI, U.S. Attorney's Office, and
others about Plaintiff, as well as Plaintiff's ‘legal assistance of counsel’ Kirk Pendergrass.

77. Picazio said in her Tweet, where she talked about her meetings with federal agents, that Plaintiff
has “active warrants in 2 states”.

78. Pendergrass had Power of Attorney for Plaintiff, and was counseling Plaintiff that the State of
Minnesota and Picazio were violating Plaintiffs rights guaranteed by the Constitution of the
United States of America. Pendergrass explained to Plaintiff that Plaintiff's right to Due Process,
as well as Plaintiff's First Amendment right and Second Amendment right, was being violated.
Plaintiff also used Randi Lynn Erickson to serve the Polk County Sheriff’s Office with a Cease and
Desist drafted by Christopher E. Hallett, E~Clause LLC., on the grounds the State of Minnesota
was violating the Hobbs Act.

40
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79. Picazio said on Twitter that Pendergrass “misinterpret[s]” and bastardizes our US Constitution”
and called Pendergrass a “domestic terrorist”. Picazio said, “He’s a danger to our justice system

and the rule of law”.

80. Picazio’s assertions that Plaintiff was part of a “group” that posed a “danger” to the “judicial
system” and “country” echoed an FBI Intelligence Bulletin drafted October 1, 2018, which was

released to the public on May 30, 2019. SEE IMAGE BELOW

41
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UNCLASSIFPIED/LAW EN FORCEMER'T SENSITIVE

FEDERAL BUREAU OF INVESTIGATION

INTELLIGENCE BULLETIN

FRI Phoenix Feld Offices

(UH#LES) Aati-Governament, Identity Based, and Fringe Political Conspiracy
Theories Very Likely Motivate Some Domestic Extremists te Commit
Criminal, Sometimes Violent Activity

(U3 LAW ENFORCEMENT SEASITIVES The latormation niarked (LES) in this docureent 18 the proparty of tha
Federal Gureau of Investigation and may be distribeted within the federal gaverniment (and ie contracters), U.S.
intelligeee, law enforcement, public salcy or protection officials, end individuals vith @ need to Knew. Dis iw
beyond these entities without FA) aushorl zatloa is proklh Precautions should be taken to ensure this Infor
is stored aied/or destroyed in w atanner Hist py 4 unaiwhoriazed acess. Information bearing the LES caveat may
wot ba used in legal proceedings withaui ret meviving eulborizatiun ivr the originating agency, Recipients ace
problbiied fom subsequenly posting tae information marzed LSS on 4 website on an unclassified network without
few obtaining FE approval,

(U) Dextesdie cageiniets employ a member of indicators, some of which may be cruminal did others which may
comeditite the exercisa of rights guaranteed by the First Amerximent of the US Conaituilon. The Fil is prottiblied
trom engaging in Investigative activicy for the sole purpose of monitoring the exercise of constitutions! rights.

(UH ‘FOUO) ‘The FBI assesses anu-guverament, identity based, and fringe political conspiracy
theortas*" very likely’ motivate some domestic extremists, wholly ur in par, to commit criminal
and sametimes violet activity. The FBI further essexses in some cases these conspiracy theories
very Ukely encournge the targeting of specific people, places, and organizations, thereby
increasing the likelihood of violence against these targets. These assessments are made with high
confidence,’ based on information from ather law enforcement avencies, open source
information, court documents, human sources with varying degrees of access and corroboration,
and FS) investigations.

(UAFOUO) One key assumption driving these assessments is that certain conspiracy theary
narratives tacitly support or legitimize violent action, The FBI also assumes some, but not all
individuals or domestic extremists who hold such beliels will act on them. The FBI assesses
these conspiracy theories very likely will emerge, spread, end evalve in the modem information
markeliplace, occasionally driving bot proups ‘and individual extremists to carry oul criminal or
violent acts. Indicators that may lead fo revised judgements or cause a change in the confidence
level asseviated with this assessment include a luck of conspiracy theory-driven criminal or
violeat activity in the nar to long term ot significant cllorts by major social medis companies
and websites to remove, regulate, or counter potentially harmful conspiratorial cantent.

4 CUD See Appondix A: Kefining Conspiracy Theories,

“19 Vor en explanntion of these tery and e degeriptioa of all conspiracy theories reterenced in this ntelligence
bulleila, see Appendix B: Promincat Ami-Gioverament, identity Bavad, and Fringe Political Conspiracy Theories,
"(Up Seo Appendix C: Expressions of Likelibond,

"€L) See Appendix Di Confidence in Assessments and Judamente ased on a Body of infennation.

UNCLASSIFIEVLAW ENFORCEMENT SENSITIVE

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Tevnplets Effective (0-1-3518

81. The Jury Trial that Picazio was discussing with federal agents was scheduled because Plaintiff
was/is alleged to have violated an “Order For Protection Against Repeat Violence” issued against
Plaintiff in 2011 by a Family Court judge named Michael G. Kaplan in Broward County, Florida.

42
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82. In 2011, Picazio stated in Family Court documents that she reported Plaintiff to the FBI for
committing repeat violence against her. SEE IMAGE BELOW

7. ditional Information
[¥ allhat apply]
a. Respondent owns, has, and/or is known to have guns or other weapons.

Describe weapon(s): UNKNOWN

JL b. This East ng Peeks Banas nee been previously reported to: {pers en
DMA, BSO ; + Lauderdak’ PS" "2 LE |
Sar tora Cavite Shere CBee

SECTION IV. INJUNCTION (This section must tf completed J

Florida Supreme Court Approved Family Law Fonn 12.980(f), Petition for Injunction for Protection Against Repeat Violence (03/04)

83. The legal situation between Picazio and Plaintiff that emerged in 2011 had ABSOLUTELY
NOTHING to do with violence between Picazio and Plaintiff (who had NEVER MET). The situation
was created because Plaintiff reported information to the Minneapolis FBI about an FBI agent
named John Regan who was dressing as a pastor and working on Picazio’s legal team that was
searching for a missing child named HaLeigh Cummings. John Regan told searchers he was
“undercover” with the “FBI” and “CIA” and was an “undercover pedophile for the FBI”. Plaintiff
was told Picazio and her husband Michael James Picazio were working with FBI/CIA agent John
Regan to traffic children on the international black market through the Ukrainian Embassy in
Washington DC. Plaintiff authored and published a bound book called “In Re: HaLeigh Cummings
(The Shocking Truth Revealed)” that featured a picture of the mysterious FBI agent. Picazio’s
mission was to stop the information Plaintiff was publishing. To achieve her goal she conspired
with Attorney David Di Pietro (“Di Pietro”) to file for a domestic violence protection order.

84. When Picazio Petitioned for the Protection Order against Plaintiff, Plaintiff was not able to
defend himself or cross examine any witnesses, including the FBI agent(s) with whom Picazio
communicated with, because Picazio’s private investigator William E. Staubs, Case Closed Inc.,
Florida, telephoned Plaintiff and told him not to show up for the court hearing in Broward
County because Picazio’s “Mob boys” would murder Plaintiff and throw him in a swamp to the
alligators. Staubs provided a sworn Affidavit and threat assessment swearing to his statement.
Plaintiff did not attend the hearing that was held geographically on the other side of the country
and Kaplan rejected Plaintiff's request to appear by telephone.

85. The Protection Order required Plaintiff turn over all of his firearms and ammunition to the
Broward County Sheriff's Office. The Order further stated Plaintiff was forbidden from selling his
book, and forbid Plaintiff from ever referring to Picazio, albeit directly or in-directly, by means of
electronic communications, for the rest of his life.

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86.

87.

88.

89.

90.

Picazio was scheduled to testify on August 26, 2019 against Plaintiff during a trial in Polk County,
Minnesota. Picazio was being called by the Prosecutor for the State of Minnesota, Ronald I.
Galstad, who was the city attorney for the City of East Grand Forks, Minnesota. Plaintiff was
accused of violating the Florida court order and Picazio was going to testify against Plaintiff.
Plaintiff was accused of making a reference to Picazio online, which the State of Minnesota was
alleging to be a ‘crime’.

PLAINTIFF IS BEING TARGETED WITH TIER ONE OPERATIONS BECAUSE HE REPORTED ABOUT
BLACK MARKET BABY SALES THROUGH THE UKRAINIAN EMBASSY IN WASHINGTON DC
Plaintiff and Picazio had never personally met in their life. The reason Plaintiff and Picazio knew
each other at all was because in 2009 Plaintiff telephonically interviewed Picazio regarding the
kidnapping of five year-old HaLeigh Cummings. The interviews were recorded by Plaintiff.
Picazio became angry at Plaintiff after Plaintiff reported negative things that Picazio’s staff said
about her. Picazio’s staff said she possessed child pornography of five year-old HaLeigh
Cummings. Picazio’s staff implicated Picazio and her husband Michael James Picazio as
operating an international black market baby sales operation with the “FBI” and “CIA”
through the Ukrainian Embassy in Washington DC. Because of Plaintiff's reporting, Picazio
sought to silence Plaintiff with a ‘domestic violence protection order’ which utilizes a process
that bypasses the U.S. Constitution.

Determined to stop Plaintiff's news reporting, the City of East Grand Forks, and the State of
Minnesota, and Picazio, deliberately by-passed the federal court process that was legally
required, as well as violated a Minnesota State Statute that required a foreign order be filed
with the Minnesota Attorney General with an affidavit. The State of Minnesota partnered with
Picazio in private, and arranged for the State of Minnesota to become a victim-by-proxy for
Picazio. Because the State of Florida rejected the fraudulent filing by Picazio, the Corporation of
the State of Minnesota stepped in and made itself the victim of a crime by Plaintiff, and then
made Picazio a witness to the crime.

It is important to point out that while all of this happened, Picazio was meeting with the FBI,
DOJ, U.S. Attorneys, and others, and issuing statements on the Web about those meetings and
stating Plaintiff was part of a domestic terror group.

The charges against Plaintiff in 2018 were not the first charges brought by the State of
Minnesota. In 2011 the City of East Grand Forks and the State of Minnesota prosecuted Plaintiff
for violating the Florida Order. Plaintiff was arrested for publishing something online. Plaintiff
and his minor daughter were terrorized by the Minnesota Pine to Prairie Gang and Drug Task
Force who stormed Plaintiffs apartment wearing bullet proof vests and seized all his devices
and work computer that contained evidence of human trafficking, child exploitation, and crimes
against humanity. The computer was destroyed in police custody. Plaintiff was terrorized until
he accepted an Alfred Plea and agreed to remove everything he had ever posted about Picazio
on the Web.

44

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91. In 2018 the City of East Grand Forks and State of Minnesota once again began charging and
arresting Plaintiff, based upon allegations he published something that violated the Florida
Order. Randi Lynn Erickson (“Erickson”), Elk River, Minnesota, observed Plaintiff's Due Process
and First Amendment rights were being violated. Erickson was a Truth and Taxation Judge with a
Minnesota license that settled claims for the government and was familiar with the law and U.S.
Constitution. Erickson secured the assistance of a corporation called E-Clause LLC, Florida, to
perform an audit of Plaintiff’s cases. Christopher Edward Hallett (“Hallett”)
[deceased/assassinated on November 15, 2020] was the CEO of E-Clause and was authorized by
U.S. Congress to perform audits of the government. Plaintiff gave Power of Attorney to Hallett
and his agent, Kirk Pendergrass. Plaintiff worked closely with Erickson, Hallett, and Pendergrass.

92. In 2019, Plaintiff’s new associates, Erickson, Hallett, and Pendergrass, as well as a man named
David Lester Straight (“Straight”), who identified himself to Plaintiff and Erickson as a “secret
service” agent who protected “George Bush” and was serving on three Presidential
Commissions under Donald Trump (i.e., Human Trafficking, Judicial Corruption, and Space Force)
operating under Joint Special Operations Command (JSOC) were referred to as a “congressional
task force” “Melania’s Task Force” and the “Pentagon Pedophile Task Force”. Straight called it
the “Pentagon Pedophile Task Force” because Straight reported to JSOC, President Trump, and
Melania Trump. Erickson paid Straight to travel to the Department of Defense headquarters and
deliver human trafficking evidence that Plaintiff had accumulated as an investigative journalist.
Sgt Robert Horton, former U.S. Army, special psychological operations, known as War Castles on
You Tube, called the task force “Melania’s Task Force”.

93. When Plaintiff introduced himself to Sgt. Robert Horton during a call from Horton to Erickson, as
“Timothy Holmseth”, Horton replied, “THE Timothy Holmseth? The legendary?”.

94. Plaintiff did not appear for the “Jury Trial” scheduled for August 26, 2019. Picazio traveled to
Minnesota with her agent, Alexandria Hannelore Goddard (“Goddard”) to testify at the trial.
When Plaintiff did not appear for the Trial, Picazio and Goddard began to literally physically hunt
for Plaintiff. Video captured by an on-looker at the Townhouse Motel in Grand Forks, North
Dakota shows Picazio and Goddard went to that location looking for Plaintiff and found
Pendergrass. Picazio was asking Pendergrass “where’s Tim?”. Pendergrass advised Picazio she
was not following “due process of law”. Picazio said the process she filed in Florida was the only
option she had. Picazio said, “What do | have to do? Kill him?”.

95. Plaintiff filed multiple reports to the FBI, and was interviewed by the Minneapolis FBI in 2010
regarding a group that was working with a convicted sex offender named “John Regan”
(“Regan”) from Hastings, Florida. Regan was identifying himself as an “undercover pedophile”
for the “FBI” and “CIA” and was working on a legal team assembled by Picazio to search for the
missing child HaLeigh Cummings.

96. On May 30, 2019 the FBI released a bulletin from the Phoenix field office entitled “(U//LES) Anti-
Government, Identity Based, and Fringe Political Conspiracy Theories Very Likely Motivate Some

f 45
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Domestic Extremists to Commit Criminal, Sometimes Violent Activity”. The bulletin was a non-
public FBI Intelligence Bulletin that was dated October 1, 2018.

PLAINTIFF IS ACCUSED OF BEING ASSOCIATED WITH QANON BY A MINNESOTA PROSECUTOR

97. In September, 2018 Plaintiff filed a MOTION TO DISQUALIFY into the Polk County District Court
against the city attorney in East Grand Forks, Minnesota, Ronald |. Galstad. Plaintiff's supporting
Affidavit alleged Galstad was involved with “cartel operatives involved in selling babies and little
kids internationally. Plaintiff alleged Galstad “has been communicating with rogue CIA
operatives that created child rape pornography of a missing five year-old from Florida named
HaLeigh Cummings”.

98. On January 31, 2019, Plaintiff published an article that showed Galstad accused Plaintiff of being
associated with QANON. SEE IMAGES BELOW

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Q - PROJECT AMBITION - Minnesota
Prosecutor accuses investigative
journalist Timothy Charles Holmseth of
being “QANON”

9 SB tunochy Halmsers ES SMEMION, CHILD SEX TRAEFICKIONG, COUPTS, CRIMES

bE gee 2 as

by Timothy Charles Holmseth on January 31, 2019 at 12:26 P.M, CST

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In the Brief, Galstad alleges Holmseth is ‘QANON’.

Galstad told the Polk County Court that Holmseth was publishing content on “Defendant's own website
Write into Action, You Tube, Twitter, facebook and recently QAnon which is a claimed secret conspiracy by an
alleged deep state” against U.S. President Donald Trump and his supporters,” Galstad said.

Defendant continued involvement and fepeated posts were harassing,

In September, 2018 Holmseth filed a MOTION TO DISQUALIFY Attorney Galstad supported by an
Affidavit that details Galstad’s involvement with cartel operatives involved in selling babies and little kids
internationally. Hoilmseth alleges Galstad has been communicating with rogue CIA operatives that
created child rape pornography of a missing five year-old from Florida named HaLeigh Cummings.

99. Galstad used Plaintiff's alleged connection to QANON as part of the Tier One Operation for the
purpose of creating the appearance Plaintiff is part of a domestic terror group which would
justify the targeting of Plaintiff by V4CR and VIPR teams working in “counter terrorism”.

100. Picazio’s actions against Plaintiff were a continuation of active, coordinated, and
ongoing extortion against Plaintiff, an investigative journalist, who discovered and reports upon
child exploitation, human trafficking, judicial corruption, and crimes against humanity.

101. Over the course of 13 years, Plaintiff's reporting has uncovered the activities of
individuals and organizations involved in the business of human trafficking, child sexual abuse,

torture, and murder.

102. In response to Plaintiff's reporting, Plaintiff became the perpetual target of extortion
and murder threats by Non-Government Organizations, private corporations, secret societies,
members of the BAR Association, foreign military, as well as Navy SEALS and Special Forces who

were trained by the U.S. Military.

103. -Acting in concert, the Defendants conspired to weave and publish a wholly false
narrative that Plaintiff is a psychotic, mentally deranged, “pedophile”, whose reporting should

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not be trusted. The narrative and lies were used as a weapon to punish Plaintiff for reporting
and publishing information. The extortion against Plaintiff eventually evolved into threats of
kidnap, torture, rape, and murder.

PLAINTIFF IS UNWITTINGLY GRAFTED INTO A COUP BY RETIRED GENERAL MICHAEL FLYNN,
ATTORNEY LIN WOOD, AND DAVID LESTER STRAIGHT, TO OVERTHROW THE UNITED STATES
GOVERNMENT WITHOUT PLAINTIFF’S KNOWLEDGE

104. In 2020 a group of individuals including retired General Michael Flynn, Attorney Sidney
Powell, Patrick Byrne, former Navy SEAL David Hancock, former Navy SEAL Jeff Wobig, and a
host of others, congregated at the South Carolina plantation called Tomotely which is owned by
Attorney Lin Wood. The purpose of the congregation was to plan Tier One Operations and
orchestrate events connected to January 6, 2021 in Washington DC.

105. On January 4, 2021, Attorney Lin Wood, South Carolina, launched the most famous
Tweet storm in world history. Wood tweeted that high level government leaders were raping
and murdering children. Wood’s first tweet of the Storm was tweeted to President Donald
Trump, and featured a link to a MEMO authored by Plaintiff wherein Plaintiff warned President
Donald Trump about the dangers of Vice President Michael Pence and an international human
harvesting operation involving an FBI agent named John Regan.

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Lin Wood Siete 7
lecudd never Mieke an accusation without

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high. So | dad & aide to vaidate the

acy ot the shocking mlotinathiet ian
song tonight, | am entirely comfortable
het you we faareiig the truth. A truth thet
expla much.

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the ehddireay

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Key Likvord Gopuded

50

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106. In response to Wood’s tweet naming Plaintiff as a reliable source of information, Sawyer
contacted Wood via Twitter, and told Wood to denounce Plaintiff.

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O05

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Justin Waish @Justin
Replying fo @LLinveood an
| believe you Lin but Holmseth isa a wacko

|DOB: 6/17/1968
Booking #: 1800390

O 4 cl 4 by

Craig “Sawman” Sawyer @] @CraigRSawyer: 1h oes

My Yep. Holmseth = Fraud

Lin, please vet this garbage Holmseth as a source & remove him from your
list,

We can factually demonstrate RIGHT NOW that Holmseth id a convicted
felon & criminal stalker who survives only by peddling disinfo for clicks &
attention. Possible Soros shill

CO ti C4 if

Craig “Sawman” Sawyer .
Replying to @LLI 2tMonaid’
Lin, you're a good man. Ask Jeff Woebig about this. You need to know
Timothy Charles Hoimseth is a notorious fraud who peddiles ridiculous
disinfo for clicks & attention, He's insane & is a convicted FELONY stalker w

at least 2 more warrants. Please vet your sources. Timmy = Fake.

‘tipline: 202-599-5515

Linvood 4

52
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wmeugh eh uege

© 12k ) 9.2K CD 36K

win Wood @LLIinWood - Jan 4 vv
| have spoken with @ ayer & have had 2 friends vouch for him & his
work, 1 do not know Timothy. | have to leave the debate at that status. | tweeted
the article after | received the link from a trusted friend. | have been transparent
as to my use of the article. Thanks.

¢

TheUniverseSings @Universe_Sings
Replying to @LLInWood @CraigRSawyer
Hmmim...Lin, this is the first time I've questioned you. Watch out for the

wolves in sheep's clothing. You trust Sawyer, just because he says you
should? What ‘evidence’ do you have to prove he’s on the right side of things?

And Timothy Holmseth, isn't?

© 740 tl 4.0K > 16K

Lin Wood @LLinWood - Jan 4 v
Thank you, Craig © er, You are a great man doing God's work to

protect innocent children being victimized. | know your superb reputation from
several sources. In posting a tweet forwarded by a trusted friend, | did not intend
to vouch for Holmseth. | just posted article.

@2 @CraigkSawyer

$5,000 REWARD Craig “Sawman” Sawyer
Replying to @LLiInWood @realDonaldTrump

Lin, you're a good man. Ask Jeff Woebig about this. You
need to know Timothy Charles Holmseth is a notorious
fraud who peddles ridiculous disinfo for clicks & attention.

He's insane & is a convicted FELONY stalker w at least...

Lin Wood @LLinWood - Jan 4 Vv
Interesting...

107. In the days before the events of January 6, 2021, that occurred in Washington DC, that
involved mass chaos around the U.S. Capitol, Plaintiff was contacted by David Lester Straight.
Straight told Plaintiff he was meeting Attorney Lin Wood in Washington DC on January 6, 2021.
Straight asked Plaintiff if he could give Wood a copy of Plaintiff's book.

108. Wood told Plaintiff he was working with “three groups”. Straight said he drafted
indictments for Congress and VP Michael Pence, and “served” them through an insider staff
member to President Trump. Straight said they were going to arrest members of Congress, have

a trial, and “hang them”.

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109. Plaintiff has filed complaints to the U.S. Secret Service, Department of Homeland
Security, FBI, U.S. Border Patrol, Fort Campbell Military Base (Criminal Investigation Division),
and other agencies.

COUNT 1 - RICO
110. Plaintiff restates paragraphs 1 through 109 of this Complaint and incorporates them
herein by reference.
111. The Plaintiff has been injured in his business, property, and reputation by reason —

Defendants’ multiple violations of Title 18 U.S.C. 1962, described above. He has lost income and
profits from the publication of his book. The Defendants’ actions proximately caused Plaintiff's
loss. The Defendants have engaged in at least two acts of racketeering activity (extortion), on of
which occurred after the effective date of Part 1, Chapter 96 of Title 18 of the United States
Code and the last of which occurred within ten years after of the commission of a prior act of
racketeering activity. The Defendants have operated or managed an enterprise through a
pattern of racketeering for many years. They continue to engage in related racketeering activity,
the direct purpose of which is to coerce and extort Plaintiff and to prevent him from Publishing
journalism content. The nature of Defendants’ racketeering activity (including the severity and
persistence of the extortion), its continuity (over many years), its relatedness (same agents,
same purpose, same modus operandi and methods of commission), and its sheer breadth
(worldwide using all forms of social media), is such that there is a threat that it will continue
indefinitely and be repeated in the future. Defendants’ past misconduct, including the
aggressive scheme of extortion and smear campaigns undertaken against Plaintiff, by its nature
projects into the future with the threat of repetition.

112. As a direct and proximate cause of Defendants’ violations of Title 18 U.S.C. 1962(a-c),
Plaintiff suffered injury and loss.

113. In accordance with 18 U.S.C. 1964(c), Plaintiff seeks threefold the damages he has
sustained.

COUNT II — RICO CONSPIRACY

114. Plaintiff restates paragraphs 1-113 of this Complaint and incorporates them herein by
reference.
115. Beginning in or about 2009 and continuing through the present, Defendants combined,

associated, agreed or acted in concert together with others, for the express purpose of injuring
Plaintiff through a pattern of racketeering activity and acts of racketeering in violation of Title 18
U.S.C.

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116. Defendants acted intentionally, purposely, without lawful justification, and with the
express knowledge that they were injuring Plaintiff’s business and reputation.

117. As a direct and proximate cause of Defendants’ violations of Title 18 U.S.C. 1962(d),
Plaintiff suffered injury and loss.

118. In accordance with 18 U.S.C. 1964(c), Plaintiff seeks threefold the damages he has
sustained and the cost of this suit.

COUNT Ill - COMMON LAW CONSPIRACY

119. Plaintiff restates paragraphs 1 through 118 of this Complaint and incorporates them
herein by reference.

120. The Defendants’ actions, detailed above, constitute a conspiracy at common law.

121. As a direct of the Defendant’s’ willful misconduct, Plaintiff suffered damage and
incurred loss, including, but not limited to, injury to his business and reputation, court costs, and
other damages.

COUNT IV - DEFAMATION

122. Plaintiff restates paragraphs 1 through 121 of this Complaint, and incorporates them
herein by reference.

123. Beginning in 2020, Defendants and their agents and co-conspirators made, published
and republished false factual statements of or concerning Plaintiff. The Defendants published
the false statements without privilege of any kind.

124, The Defendants’ statements are materially false. For instance, Plaintiff is not a
“pedophile” and has never committed the other crimes Defendants and their agents accused
Plaintiff of committing.

125. The Defendants’ statements are defamatory per se. The statements subject Plaintiff to
hatred, distrust, ridicule, contempt, or disgrace. The statements impute to the Plaintiff the
commission of state and federal crimes; unfitness to perform the duties of an office of any
employment; and they prejudice Plaintiff in his profession.

126. The Defendants’ false statements are neither fair nor accurate.

127. By publishing the statements on the Internet and republishing via social media,
Defendants knew or should have known that the false statements would be republished over

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and over by third parties to Plaintiff's detriment. Republication by Defendants’ agents and by
followers, subscribers, readers, and by users of Twitter and You Tube was the natural and
probable consequence of Defendants’ actions and was actually and/or presumptively authorized
by Defendants. In addition to its original publications, Defendants are liable for the
republications of the false and defamatory statements by third-parties under the republication
rule.

128. The Defendants lacked reasonable grounds for a belief in the truth of their statements,
and acted negligently in failing to determine the true facts. The Defendants published the
statements as part of a campaign to extort Plaintiff and to destroy Plaintiff's and Erickson’s
reputation in order to prevent Plaintiff and Erickson from exposing Defendants’ crimes. The
Defendants’ were grossly negligent in publishing the statements about Plaintiff. The Defendants
failed to exercise reasonable care and abandoned their legal, moral and ethical duty to report
the truth and minimize harm.

129. The Defendants published the false and defamatory statements with actual malice:

a) The Defendants knew their statements about Plaintiff were false. Prior to publication
Defendants combed the internet for stories and information about Plaintiff. The Defendants
knew Plaintiff is not a pedophile or psychotic. In spite of their actual knowledge, Defendants
repeatedly accused Plaintiff of sex crimes and/or sexual deviancy. In truth, Defendants’
fabricated the statements. The statements were products of the Defendants’ imagination and
desire to inflict harm upon Plaintiff and Erickson. Given Defendants knowledge that Plaintiff won
first place awards with the North Dakota Newspaper Association, Defendants knew their
statements were inherently improbable. The Plaintiffs harbored serious doubt as to the veracity
of any claim that Plaintiff committed the heinous crimes leveled against him by the Defendants.

b) After being notified that their statements were false and defamatory, Defendants republished
the false and defamatory statements and imputations out of a desire to hurt Plaintiff and to
permanently stigmatize him. Defendants and their agents acted with reckless disregard for the
truth. Nunes v. Lizza, 12 F. 4" 890, 901 (8" Cir. 2021) (“Republication of a statement after the
Defendant has been notified that the plaintiff contends that it is false and defamatory may be
treated as evidence of reckless disregard.’ Restatement (Second) of Torts 580A cmt. d (Am. L.
Inst. 1977). Lizza tweeted the article in November 2019 after Nunes filed this lawsuit and denied
the articles implication. The pleaded facts are suggested enough to render it plausible that Lizza,
at that point, engaged in “the purposeful avoidance of the truth.’”).

130. As a direct result of Defendants’ defamation, Plaintiff suffered actual injuries, including,
but not limited to, insult, pain, embarrassment, humiliation, mental anguish, injury to his
reputation, injury to his body, injury to his health, costs and other out-of-pocket expenses, in
the sum of $20,000,000 or such greater amount as is determined by the jury.

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Plaintiff alleges the forgoing based upon. personal knowledge, public statements of others, and records
in his possession. Plaintiff believes that substantial additionally evidentiary support, which is in the
exclusive possession of Defendants and their agents and other third parties, will exist for the allegations
and claims set forth above after a reasonable opportunity for discovery.

Plaintiff reserves his right to amend this complaint in any part, including adding additional known and
unknown persons or entities, upon discovery of additional instances of the Defendants’ wrongdoing.

CONCLUSION AND REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests the Court to enter Judgement against the Defendants, jointly
and severally, as follows;

A. Compensatory damages in the amount of $10,000,000.00 or such greater amount is determined
by the jury;

B. Threefold damages in the sum of $30,000,000.00;

C. Punitive damages [Reserved pursuant to Tennessee 2014 Tennessee Code - Title 29 - Remedies
and Special Proceedings - Chapter 39 - Compensation for Economic and Noneconomic Damages
- § 29-39-104 - Punitive damages.

D. tnjunctive relief in accordance with Title 18 U.S.C. 1964 to prevent future acts of extortion;

E. Prejudgment interest at the maximum rate allowed by law;

F. Post judgment interest on the principal sum of the Judgement entered against Defendants from

the date of the Judgement until paid;
G. Attorneys fees (should Plaintiff retain counsel), Expert Witness Fees and Costs;
H. Such other relief as is just and proper.
TRIAL BY JURY IS DEMANDED
DATED: January 17, 2023 Sy c Ch Lp
Timothy Charles Holmseth By: Wy ie (‘Axe

Timothy Charles Holmseth

808 Carmichael Rd.
Hudson, Wisconsin
54016

tholmseth@wiktel.com

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Document 14

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